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                          IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF UTAH, CENTRAL DIVISION


PARCEL PARTNERS, LLC, a Utah                         MEMORANDUM IN OPPOSITION TO
Limited Liability Company,                           DEFENDANT SHOPIFY INC.’S
                                                     MOTION TO DISMISS THE
                      Plaintiff,                     COMPLAINT

       vs.

SHOPIFY INC., a Canadian company,                    Case No.: 2:20-cv-00253-DB-DOA

                Defendant.                           Judge Dee Benson
                                                     Magistrate Judge Daphne A. Oberg



        Plaintiff Parcel Partners, LLC (“Parcel Partners”) hereby responds to and opposes the

Motion to Dismiss the Complaint (the “Motion”) filed by Defendant Shopify Inc. (“Defendant”).

For the reasons stated herein, Parcel Partners respectfully requests that the Motion be denied in

its entirety.




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                                       INTRODUCTION

       The present action consists of a straightforward breach of contract claim. Defendant, a

multinational e-commerce company providing merchants with online and mobile storefronts to

sell products and services, contracted with Parcel Partners, a company that offers customers

discounted USPS shipping rates. Pursuant to the terms of the parties’ contract, and the

applicable amendments thereto, Parcel Partners agreed to offer Defendant discounted shipping

rates for three years. However, prior to the agreement’s expiration, Defendant notified Parcel

Partners that it had negotiated its own agreement with the USPS for discounted domestic

shipping rates and stopped referring its merchants to Parcel Partners in breach of its obligations

under the parties’ agreement. As a result, Parcel Partners has incurred significant damages.

       Defendant does not dispute the existence of an enforceable contract between the parties,

the material terms of the agreement, Parcel Partners’ performance of its obligations under the

agreement, or that Parcel Partners incurred damages. Instead, Defendant only contends that it

did not breach the parties’ agreement because the agreement allegedly does not contain express

language creating an exclusive relationship with Parcel Partners for the offer of domestic

shipping rates. Defendant’s argument is without merit because it relies on an interpretation of

the agreement that would impermissibly create an illusory promise, as Defendant could terminate

the agreement at any time by simply ceasing to refer its customers to Parcel Partners for

domestic shipping rates while at the same time avoiding the consequences of the parties’ early

termination clause. The parties’ agreement does not expressly indicate that Parcel Partners

intended these results, and such a result would be unreasonably harsh. Moreover, the agreement,




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read as a whole, requires exclusivity. For these reasons, Defendant’s Motion should be

dismissed.

                                       MATERIAL FACTS

         1.    Defendant is a multinational e-commerce company that provides merchants with

online and mobile storefronts to sell their products and services. (Compl. ¶ 9.)

         2.    Defendant’s e-commerce platform provides its merchants with, among other

things, the ability to process payments and ship their orders. (Id. at ¶ 10.)

         3.    Parcel Partners offers customers such as Defendant discounted shipping rates

through its Negotiated Service Agreement (“NSA”) with the United States Postal Service. (Id. at

¶ 11.)

         4.    On or about April 1, 2017, Parcel Partners and Defendant entered into a Referral

Agreement (the “Agreement”), attached to the Complaint as Exhibit 1.1 (Id. at ¶ 12.)

         5.    Pursuant to the Agreement, Parcel Partners agreed to offer Defendant USPS

shipping rate discounts as specified in “Schedule B—Referral Source Percentage Discount off

Lowest USPS Published Rates.” (Id.)

         6.    The Agreement provided for an initial term of one year, which commenced on

April 1, 2017, and would renew for two additional one year terms unless either Parcel Partners or

Defendant provided sixty days’ written notice of its intention not to renew prior to the expiration

of the initial term or any renewal term. (Id. at ¶ 15.)




         1
        By Order dated April 22, 2020, this Court granted Parcel Partners’ “Ex Parte Motion
for Leave to Seal Exhibits [1] and [2] to the Complaint.” [Dkt. No. 10.]



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        7.       Pursuant to the Agreement, Parcel Partners resells its USPS discounted shipping

rates to Defendant’s merchants that Defendant refers to Parcel Partners. (Id. at ¶ 16.)

        8.       Pursuant to Section 1(E) of the Agreement: “Where the domestic rates offered by

[Parcel Partners] pursuant to Exhibit B are discounted off the USPS’ publically available

domestic rates, [Defendant] will not offer [merchants] any alternative domestic rate offer from a

Competing Reseller.” (Id. at § 1(E).) (Id. at ¶ 17.)

        9.       The Agreement defines “Competing Reseller” as “a third party, other than

[Defendant], that offers shipping rates under negotiated service agreements directly with the

USPS for domestic or international rates. (Id.) (Id. at ¶ 18.)

        10.      By its terms, and when viewed in the context of the Agreement as a whole,

Section 1(E) creates an exclusive relationship between Parcel Partners and Defendant for the

offer of domestic shipping rates because it prohibits Defendant from offering its customers

domestic shipping rates from Competing Resellers. (Id. at ¶ 19.)

        11.      This exclusive relationship arises because the broad definition of “Competing

Reseller” encompasses two categories of resellers: (1) resellers of USPS rates, similar to Parcel

Partners’ relationship to Defendant under the Agreement, and (2) other parties that offer shipping

rates pursuant to a reseller’s NSA. (Id. at ¶ 20.)

        12.      The Agreement carves out Defendant from the definition of “Competing Reseller”

because Defendant would otherwise fall under the second category of resellers under of Section

1(E) of the Agreement by providing shipping rates to its customers under Parcel Partners’ NSA.

(Id. at ¶ 21.)




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         13.    However, the definition of “Competing Reseller” refers to “negotiated service

agreements with the USPS” and makes no distinction regarding the party holding the NSA. (Id.

at ¶ 22.)

         14.    Therefore, the Agreement prohibited Defendant from obtaining its own NSA with

the USPS and referring its merchants to Defendant’s discounted domestic shipping rates. (Id. at

¶ 23.)

         15.    This exclusive relationship becomes even clearer when Section 1(E) is viewed in

the context of the Agreement as a whole. (Id. at ¶ 24.)

         16.    For example, Section 2(E) of the Agreement expressly permits Defendant to offer

its merchants “competing products and offerings from Competing Resellers, or directly from the

USPS, for: (i) international USPS rates, (ii) international USPS rates that include a USPS

domestic rate as a component of the international USPS rate, (iii) domestic USPS rates on first

class parcels.” (Id. at § 2(E).) (Id. at ¶ 25.)

         17.    Additionally, the Agreement’s amending language further supports the existence

of an exclusive relationship. (Id. at ¶ 26.)

         18.    On April 1, 2019, the Agreement was amended by the Second Amending

Agreement (“Amendment No. 2”), attached to the Complaint as “Exhibit 2.”2 (Id. at ¶ 27.)

         19.    In addition to other revisions and additions, including but not limited to a revised

“Schedule B—Referral Source Percentage Discount off Lowest USPS Published Rates,”

Amendment No. 2 added Section 10B: “Termination for Convenience.” (Id. at ¶ 28.)

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       For the same reasons stated in Footnote 1, supra, Exhibit 2 has been filed under seal with
the permission of this Court.



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        20.     The Termination for Convenience clause permits Defendant to terminate the

Agreement for convenience “upon at least ninety (90) days advance written notice to [Parcel

Partners].” (Id. at ¶ 29.)

        21.     Moreover, pursuant to the Termination for Convenience Clause:

                In the event [Defendant] exercises its right to terminate for convenience
                pursuant to this Section 10B, [Defendant] agrees to provide [Parcel
                Partners] with a lump sum payment equal to six hundred and fifty
                thousand ($650,0000 (the “Termination Payment”). If applicable,
                [Defendant] will pay [Parcel Partners] the Termination Payment at least
                thirty (30) days prior to the date the Agreement is terminated. The Parties
                intent that the Termination Payment constitute compensation, and not a
                penalty. The [Defendant’s] payment of the Termination Payment is the
                [Defendant’s] sole liability and entire obligation and [Parcel Partner’s]
                exclusive remedy for any termination arising pursuant to this Section 10B.

(Amendment No. 2, § 10B.) (Id. at ¶ 30.)

        22.     The Termination for Convenience Clause would be unnecessary if no exclusive

relationship existed between Defendant and Parcel Partners for offering domestic shipping rates,

as Defendant could slowly move its domestic volume off of Parcel Partners’ NSA without

consequence. (Id. at ¶ 31.)

        23.     On or about February 3, 2020, Defendant informed Parcel Partners that it had

secured its own domestic NSA with the USPS. (Id. at ¶ 32.)

        24.     On or about February 21, 2020, Defendant stopped referring its merchants to

Parcel Partners for its discounted shipping rates, despite the fact that the Agreement was not due

to expire until March 31, 2020. (Id. at ¶ 33.)

        25.     Parcel Partners has, at all times, honored the Agreement and arranged for

domestic shipping services to Defendant at the specified rates subject to the Agreement. (Id. at ¶

34.)


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         26.    On or about March 6, 2020, Parcel Partners notified Defendant that its actions

were a breach of the exclusivity provisions of the Agreement. (Id. at ¶ 35.)

         27.    Defendant refused, failed, and neglected to cure its breach of the Agreement. (Id.

at ¶ 36.)

         28.    Parcel Partners has suffered damages as a result of Defendant’s breach in an

amount no less than $5,000,000.3 (Id. at ¶ 43.)

                                            ARGUMENT

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S. Ct. 1937, 1949 (2009) (internal quotation marks omitted). “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. Thus, dismissal

is appropriate under Federal Rule of Civil Procedure 12(b)(6) “only when it appears that the

plaintiff can prove no set of facts in support of the claims that would entitle him to relief,

accepting the well-pleaded allegations of the complaint as true and construing them in the light

most favorable to the plaintiff.” Dubbs v. Head Start, Inc., 336 F.3d 1194, 1201 (10th Cir.

2003).




         3
         Defendant’s passing argument that no good faith basis exists for Parcel Partners’
allegations regarding its damages because Parcel Partners offers no factual dispute for its alleged
damages of $5,000,000 and because Parcel Partners’ damages are limited as stated in the
Limitation of Liability provision are meritless. However, as Defendant seems to imply, such
argument is not appropriate in a motion to dismiss.



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       Under Pennsylvania law, “[a] cause of action for breach of contract must be established

by pleading (1) the existence of a contract, including its essential terms, (2) a breach of a duty

imposed by the contract and (3) resultant damages.” Corestates Bank, N.A. v. Cutillo, 723 A.2d

1053, 1058 (Pa. Super. Ct. 1999).4 “A contract's interpretation may be either a question of law,

determined by the words of the agreement, or a question of fact, determined by extrinsic

evidence of intent.” State v. Bruun, 2017 UT App 182, ¶ 24, 405 P.3d 905. Only unambiguous

contracts are construed as a matter of law. Id. “However, if the language of the contract is

ambiguous such that the intentions of the parties cannot be determined by the plain language of

the agreement, the contract's interpretation becomes a question of fact, and extrinsic evidence

must be looked to in order to determine the intentions of the parties.” Id. (internal quotation

marks omitted). “A contract is ambiguous if it is capable of more than one reasonable

interpretation because of uncertain meanings of terms, missing terms, or other facial

deficiencies.” Id.

       In this case, Defendant seeks to dismiss Parcel Partners’ Complaint solely on the grounds

that the Agreement’s language—specifically that in Sections 1.E., 2.E., and 10B—does not

expressly state that an “exclusive relationship” exists between Parcel Partners and Defendant

and, therefore, Defendant cannot have breached any duty to Parcel Partners. However, absent

       4
         Defendant suggests that the Agreement’s Governing Law provision, which provides that
Pennsylvania law governs any dispute between the parties, is unenforceable under Utah’s choice-
of-law rules, but concedes that no conflict-of-laws analysis is necessary because the elements of
Pennsylvania’s and Utah’s breach of contract action are substantially similar. (Mot. at n.7.) For
the purposes of its opposition only, Parcel Partners does not object to the application of Utah
law. See Bair v. Axiom Design, L.L.C., 2001 UT 20, ¶ 14, 20 P.3d 388. (“The elements of a
prima facie case for breach of contract are (1) a contract, (2) performance by the party seeking
recovery, (3) breach of the contract by the other party, and (4) damages.”)



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any exclusivity provision, Defendant’s obligations become illusory, as it could slowly move all

of its volume off of Parcel Partners’ NSA without consequence, terminating the Agreement and

necessarily becoming Parcel Partners’ competitor. As the Agreement contains no express

language that Parcel Partners intended this result, Defendant’s interpretation is unreasonable and

inconsistent with the parties’ expectations and purpose of the Agreement. Therefore,

Defendant’s Motion should be dismissed.

       A.      When Viewed as a Whole, the Agreement’s Implied Terms Create an
               Exclusive Relationship Between Parcel Partners and Defendant for Domestic
               Shipping Rates.

       Defendant argues that based on the absence of any express language in the Agreement

creating an exclusive relationship between Defendant and Parcel Partners regarding the offer of

discounted USPS domestic shipping rates to Defendant’s clients, no such exclusive relationship

existed. However, it is axiomatic that “[i]n contract interpretation, the court must first look to

the whole contract to discern the parties’ intentions.” Goodwin v. Hole No. 4, LLC, No. 2:06-cv-

00679, 2006 U.S. Dist. LEXIS 86157, at *8 (D. Utah Nov. 15, 2006). “The established rules of

contract interpretation require consideration of each of its provisions in connection with the

others and, if possible, to give effect to all.” Minshew v. Chevron Oil Co., 575 P.2d 192, 194

(Utah 1978). “Effect is to be given the entire agreement without ignoring any part thereof.” Id.

Defendant does not dispute this long-standing principle of contract interpretation. (Mot. at 15.)

Instead, Defendant impermissibly asks this Court to ignore this principle and focus solely on the

language contained in Section 1.E.

       However, courts “interpret the terms of a contract in light of the reasonable expectations

of the parties, looking to the agreement as a whole and to the circumstances, nature, and purpose



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of the contract.” Peirce v. Peirce, 2000 UT 7, ¶ 19, 994 P.2d 193. To that end, “courts endeavor

to construe contracts so as not to grant one of the parties an absolute and arbitrary right to

terminate a contract.” Id. Thus, when doubt arises regarding interpretation of a contract, the

court will prefer a “fair and equitable result” over a “harsh and unreasonable one.” Id. A court

will only adopt an interpretation creating an inequitable result when the contract “expressly and

unequivocally so provides that there is no other reasonable interpretation to be given it.” Id.

       Moreover, with respect to bilateral contracts supported by mutual promises as

consideration, “the promises must be binding on both parties.” Id. at ¶ 21. When only a “facade

of a promise” exists, “such promise is said to be illusory.” Id. Under these circumstances, “the

tendency of the law is to avoid the finding that no contract arose due to an illusory promise when

it appears that the parties intended a contract.” Id. Thus, in the absence of express contrary

restrictions, courts will interpret contracts to include “implied promises to prevent a party’s

promise from being performable merely at the whim of the promisor.” Id.

       The Utah Supreme Court’s decision in Peirce, as well as this Court’s decision in

Goodwin, are instructive. In Peirce, the court considered a husband and wife’s written contract

regarding the disposition of property. Peirce, 2000 UT 7, ¶ 2, 994 P.2d 193. In the contract, the

husband agreed to leave “his estate to [the wife] at his death” in exchange for the wife’s promise

to give “all of her paychecks to [the husband], keeping only a small amount of spending money

for personal use.” Id. Two months before his death, the husband left the wife, moved in with his

nephew, and made “four gratuitous conveyances of real property and shares of stock to

defendants.” Id. at ¶ 4. After her husband’s death, the wife filed an action for constructive trust

against the defendants, claiming that the husband had impermissibly conveyed property to them



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in violation of the contract. Id. at ¶ 5. The wife argued that “the terms of the writing implicitly

required [the husband] to obtain her consent before he conveyed any of his property.” Id. The

court rejected the defendants’ argument that “absent any express term to the contrary, [the

husband] was legally entitled to make gratuitous transfers of property prior to his death.” Id. at ¶

25. Instead, the court found that “[a]bsent any restriction upon his ability to transfer his property

by will, gift, or otherwise, [the husband] would have given no consideration . . . because it would

permit [the husband] to arbitrarily avoid performance of his side of the bargain.” Id. at ¶¶ 26-27.

Therefore, the court held that the agreement contained an implied limitation to gratuitously

transfer substantial portions of his property. Id. at ¶ 28.

        This Court in Goodwin reached a similar conclusion. In Goodwin, two buyers contracted

with a residential developer to purchase a single-family unit within a planned residential

community. Goodwin, 2006 U.S. Dist. LEXIS 86157, at *2-3. The real estate contract at issue,

however, limited buyers to return of the buyer’s deposit with ten percent interest in the event of a

seller default. Id. at *5. As the community’s development progressed, property values

increased, leading the developer to terminate the real estate contract on that bases that it

construed the contract’s termination clause “to afford it the option to terminate the [contract] for

any reason upon tender to the ‘Buyer’ of a return of all deposits plus interest thereon at the rate

of ten percent per annum[.]” Id. at *5-6. The buyers sued for, among other things, breach of

contract. Id. at *6. Relying on the Utah Supreme Court’s decision in Peirce, this Court rejected

the developer’s interpretation that the termination provision gave it “an absolute and

unconditional power to terminate the contract at any time[.]” Id. at *11. Instead, to preserve the

overall purpose of the contract, this Court reasonably “construe[d] the contract as including an



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implied term limiting the effect of [the termination clause] to unintentional defaults.” Id. Any

other interpretation would have given the developer “the right to define the nature and extent of

its performance, a result which would make its promise illusory.” Id. at *12.

       Similar to Peirce and Goodwin, Defendant’s interpretation of Section 1.E.—and the

definition of “Competing Reseller”—would give Defendant the unfettered ability to negotiate its

own NSA with the USPS for domestic shipping rates, thereby allowing it to refer merchants to

its own NSA rather and off of Parcel Partners’ NSA. Defendant argues that the Agreement does

not prohibit it from offering its merchants “alternative discounted USPS domestic shipping rates

from Shopify’s own NSA with USPS.” (Mot. 12-13.) However, such an interpretation is

inconsistent with the parties’ purpose and expectations for entering into the Agreement—Parcel

Partners’ offer of discounted USPS domestic shipping rates to Defendant’s merchants under

Parcel Partners’ NSA. (Compl. ¶ 12; Mot. at ¶ 5.) Defendant fails to explain the purpose of the

Agreement’s three year term if it could, at any time and without notice, move its merchants to its

own negotiated USPS NSA. Thus, Defendant’s interpretation of “Competing Reseller” would

allow it to effectively terminate the Agreement at any time. For this reason, exclusivity is an

implied term of the Agreement. And Defendant’s arguments regarding the lack of any express

language creating an exclusive relationship is meritless.

       Moreover, such an interpretation would allow Defendant to move all of its merchants off

of Parcel Partners’ NSA onto Defendant’s NSA while avoiding the consequences of Section

10B’s Termination for Convenience clause. Defendant argues that Section 10B applies in the

absence of exclusivity if Defendant terminated the Agreement to offer its merchants USPS

discounted domestic shipping rates from a reseller other than Defendant. (Mot. at 16.)



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However, Defendant’s interpretation is unreasonable because it would permit Defendant to

terminate the Agreement without paying the requisite $650,000 Termination Payment.

Defendant fails to explain why it would be liable for the Termination Payment if it terminated

the Agreement to move its merchants to the NSA of a reseller other than itself, but not if

Defendant moved its merchants to its own NSA.

       Thus, a more reasonable interpretation of the definition of “Competing Reseller”5 is that

it created an exclusive relationship by prohibiting Defendant from obtaining its own NSA with

the USPS and referring its merchants to Defendant’s discounted domestic shipping rates.

(Compl. ¶ 23.) The Agreement’s definition of “Competing Reseller” contemplates two

categories of third parties: (1) resellers of USPS rates, similar to Parcel Partners’ relationship to

Defendant under the Agreement, and (2) other parties that offer shipping rates pursuant to a

reseller’s NSA. (Id. at ¶ 20.) “Competing Reseller” makes no distinction with respect to

“negotiated service agreements with the USPS” and makes no distinction regarding the party

holding the NSA. (Id. at ¶ 22.) Therefore, the Agreement carves out Defendant from

“Competing Reseller” because by providing shipping rates to its customers under Parcel

Partners’ NSA, Defendant would otherwise fall under the second category of resellers. (Id.at ¶

21.)

       Despite Defendant’s argument to the contrary, Section 2.E. supports the existence of an

exclusive relationship between Parcel Partners and Defendant for domestic shipping rates.


       5
        Section 1.E. of the Agreement defines “Competing Reseller” as “a third party, other
than [Defendant] that offers shipping rates under negotiated service agreements directly with the
USPS for domestic or international rates.” (Compl. ¶ 18.)



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Section 2.E. provides that Parcel Partners “acknowledges and agrees that [Defendant] may offer

Clients competing products and offerings from Competing Resellers, or directly from the USPS,

for: (i) international USPS rates, (ii) international USPS rates that including a USPS domestic

rate as a component of the international USPS rate, (iii) domestic USPS rates on first class

parcels.” (Agreement at § 2.E.) (emphasis added). Therefore, Section 2.E. expressly lists the

services Defendant is permitted to offer merchants directly from the USPS. Notably absent from

this list is USPS domestic shipping rates. Had the parties intended to permit Defendant to offer

merchants discounted domestic shipping rates under its own NSA, the parties could have

included this in Section 2.E. The fact that such permission is absent from this section reflects the

parties’ intent to create an exclusive relationship between Parcel Partners and Defendant for the

offering of discounted domestic shipping rates.

         Defendant’s argument that Section 2.E does not prohibit Defendant from offering

discounted USPS domestic shipping rates to merchants because the arguments appear in Section

2.E. is meritless. Other than the heading title—“Company Agrees”—Defendant offers no

persuasive reason why the permissions outlined in Section 2.E. are any less applicable to

Defendant because they appear in Section 2.E. rather than Section 1.E.. Indeed, Section 2.E.

does not contradict Section 1.E. Therefore, Section 2.E. supports an implied term of exclusivity

between Parcel Partners and Defendant for the offering of discounted USPS domestic shipping

rates.




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                                        CONCLUSION

       For the foregoing reasons, Parcel Partners respectfully requests this Court enter an order

denying Defendant’s Motion.

       DATED this 1st day of September 2020.




                                             /s/ Jason D. Boren
                                             Jason D. Boren, Esq.
                                             Nathan Marigoni, Esq.
                                             BALLARD SPAHR LLP
                                             Attorneys for Plaintiff Parcel Partners, LLC




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct of copy of the foregoing MEMORANDUM IN

OPPOSITION TO DEFENDANT SHOPIFY INC.’S MOTION TO DISMISS THE

COMPLAINT was served to the following this 1st day of September 2020, in the manner set

forth below:

[ x] Through the CM/ECF System for the U.S. District Court

[ ] Hand Delivery

[ ] U.S. Mail, postage prepaid

[ ] E-mail:    hgoebel@gapclaw.com; rtrummel@kslaw.com


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                                             /s/ Lisa D. Brown




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